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                                          7
                                          8                           UNITED STATES DISTRICT COURT
                                          9                                DISTRICT OF NEVADA
                                         10
                                                   Tonisha Anderson,                                   Case No.: 2:17-cv-01965
                                         11
6069 South Fort Apache Road, Suite 100




                                                                   Plaintiff,                          Complaint For Damages Under
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                                         12
                                                   v.                                                  the Fair Debt Collection Practices
       Las Vegas, Nevada 89148




                                         13                                                            Act, 15 U.S.C. § § 1692 et seq. and
                                                   FMMR Investments Inc., d/b/a                        NRS 604A
                                         14
                                                   Rapid Cash; and Kravitz, Schnitzer
                                         15        & Johnson, Chtd.,                                   Jury Trial Demanded
                                         16
                                                                   Defendants.
                                         17
                                         18
                                         19
                                         20                                            INTRODUCTION
                                         21   1.        The United States Congress has found abundant evidence of the use of
                                         22             abusive, deceptive, and unfair debt collection practices by many debt
                                         23             collectors, and has determined that abusive debt collection practices
                                         24             contribute to the number of personal bankruptcies, to marital instability, to the
                                         25             loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                         26             Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                         27             “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                         28             to insure that those debt collectors who refrain from using abusive debt

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                                          1          collection practices are not competitively disadvantaged, and to promote
                                          2          consistent State action to protect consumers against debt collection abuses.
                                          3   2.     Tonisha Anderson (“Plaintiff”), through counsel, brings this suit to challenge
                                          4          the actions of FMMR Investments, Inc. d/b/a Rapid Cash (“Rapid Cash”) and
                                          5          Kravitz, Schnitzer & Johnson, Chtd. (“KSJ” and together with Rapid Cash as
                                          6          the “Defendants”) with regard to their attempts to unlawfully and abusively
                                          7          collect a debt alleged owed by Plaintiff, causing Plaintiff harm.
                                          8   3.     Plaintiff makes these allegations on information and belief, with the exception
                                          9          of those allegations that pertain to Plaintiff, or to Plaintiff’s counsel, which
                                         10          Plaintiff alleges on personal knowledge.
                                         11   4.     While many violations are described below with specificity, this Complaint
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                                         12          alleges violations of the statutes cited in their entirety.
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                                         13   5.     Unless otherwise stated, all the conduct engaged in by Defendants took place
                                         14          in Nevada.
                                         15   6.     Any violations by Defendants were knowing, willful, and intentional, and
                                         16          Defendants did not maintain procedures reasonably adapted to avoid any such
                                         17          violation.
                                         18   7.     Unless otherwise indicated, the use of Defendants’ name in this Complaint
                                         19          includes all agents, employees, officers, members, directors, heirs, successors,
                                         20          assigns, principals, trustees, sureties, subrogees, representatives, and insurers
                                         21          of Defendants named.
                                         22                                              THE PARTIES
                                         23   8.     Plaintiff is a natural person who resides in the State of Nevada, County of
                                         24          Clark, City of Las Vegas.
                                         25   9.     Plaintiff is a natural person allegedly obligated to pay a debt, and is a
                                         26          consumer as that term is defined by 15 U.S.C. § 1692a(3).
                                         27   10.    Rapid Cash is a domestic corporation organized and existing by virtue of the
                                         28          laws of the State of Nevada and registered with the Nevada Secretary of State.

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                                          1          Rapid Cash conducts business in the State of Nevada, County of Clark, City
                                          2          of Las Vegas.
                                          3   11.    Upon information and belief, Rapid Cash’s website is http://
                                          4          www.speedycash.com.
                                          5   12.    Rapid Cash is in the business of lending consumers high interest loans—
                                          6          438.724% and 438.783% APR in this case.
                                          7   13.    KSJ is a domestic professional corporation organized and existing by virtue of
                                          8          the laws of the State of Nevada and registered with the Nevada Secretary of
                                          9          State. KSJ conducts business in Clark County, Nevada.
                                         10   14.    Upon information and belief, KSJ’s website is http://www.ksjattorneys.com.
                                         11   15.    KSJ regularly conducts collection efforts on behalf of Rapid Cash, including
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                                         12          by filing debt collection lawsuits and collecting payments on behalf of Rapid
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                                         13          Cash.
                                         14   16.    Defendants are persons who use instrumentalities of interstate commerce or
                                         15          the mails in a business the principal purpose of which is the collection of
                                         16          debts, or who regularly collect or attempt to collect, directly or indirectly,
                                         17          debts owed or due or asserted to be owed or due another and are therefore a
                                         18          debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
                                         19                                     JURISDICTION AND VENUE
                                         20   17.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 (federal
                                         21          question jurisdiction) and 28 U.S.C. § 1367 (supplemental jurisdiction).
                                         22   18.    This action arises out of Defendants violations of the Fair Debt Collection
                                         23          Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”).
                                         24   19.    Rapid Cash is subject to personal jurisdiction in Nevada, as it conducts
                                         25          business in Nevada and is listed with the Nevada Secretary of State as a
                                         26          domestic corporation.
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                                          1   20.    KSJ is subject to personal jurisdiction in Nevada, as it conducts business in
                                          2          Nevada and is listed with the Nevada Secretary of State as a domestic
                                          3          professional corporation.
                                          4   21.    Venue is proper pursuant to 28 U.S.C. § 1391 because all the conduct giving
                                          5          rise to this complaint occurred in Nevada.
                                          6   22.    At all times relevant, Defendants conducted business within the State of
                                          7          Nevada.
                                          8                                       FACTUAL ALLEGATIONS
                                          9   23.    On or about May 27, 2016, and June 2, 2017, Rapid Cash offered Plaintiff
                                         10          two separate high-interest loans (the “Loans”).
                                         11   24.    The Loans were “high interest loan[s]” as defined by NRS 604A.0703
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                                         12          because they bore an annual percentage rate of more than 40 percent—
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                                         13          438.724% and 438.783%, respectively, in this case.
                                         14   25.    Plaintiff and Rapid Cash entered into two separate loan agreements (the
                                         15          “Loan Agreement” or “Loan Agreements”).
                                         16   26.    Under one of the Loan Agreements, Rapid Cash loaned $200 to Plaintiff.
                                         17   27.    Under the Loan Agreement for the $200 loan, Plaintiff was required to make
                                         18          payments of $54.40 every two weeks, totaling $108.80 per month.
                                         19   28.    Under a second Loan Agreement, Rapid Cash loaned $1,020 to Plaintiff.
                                         20   29.    Under the Loan Agreement for the $1,020 loan, Plaintiff was required to make
                                         21          payments of $262.35 every two weeks, totaling $525.64 per month.
                                         22   30.    Thus, between June 2016 and August 2016, Rapid Cash sought payments of
                                         23          $634.44 per month from Plaintiff.
                                         24   31.    NRS 604A.425(1)(b) dictates that the monthly payment of a high-interest loan
                                         25          may not exceed 25 percent of the borrower’s monthly income.
                                         26   32.    Plaintiff’s income during the relevant period, however, was only
                                         27          approximately $2,200.00 gross per month.
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                                          1   33.    Still, Rapid Cash illegally sought monthly payments of $634.44 from
                                          2          Plaintiff.
                                          3   34.    The demanded payments of $634.44 exceeded 25 percent of Plaintiff’s
                                          4          monthly income and Rapid Cash thus violated NRS 604A.
                                          5   35.    Defendants knew that the amount that Rapid Cash sought from Plaintiff
                                          6          violated the law because they knew that payments of $634.44 would exceed
                                          7          25 percent of Plaintiff’s monthly gross income.
                                          8   36.    Plaintiff allegedly fell behind in payments under one of the Loan Agreements,
                                          9          and defaulted on the Debt.
                                         10   37.    Soon thereafter, Rapid Cash filed a lawsuit against Plaintiff in Justice Court,
                                         11          Las Vegas Township, bearing case number 17C007944, in an attempt to
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                                         12          collect a debt under the Loan Agreements.
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                                         13   38.    NRS 604A.900 provides a loan agreement “is void and the licensee is not
                                         14          entitled to collect, receive or retain any principal, interest or other charges or
                                         15          fees with respect to the loan” if the licensee willfully violates the provisions
                                         16          of NRS Chapter 604A.
                                         17   39.    Rapid Cash willfully violated NRS 604A.425 by providing loans to Plaintiff
                                         18          that exceeded the maximum amount allowable by law because Defendants
                                         19          knew that the monthly payments exceeded Plaintiff’s monthly income.
                                         20   40.    Under NRS 604A.900, the Loan Agreements were void and neither Rapid
                                         21          Cash nor KSJ was authorized to collect any monies due under the Loan
                                         22          Agreement or to file the collection lawsuit against Plaintiff.
                                         23   41.    Because the Loan Agreements are void, Defendants violated the Fair Debt
                                         24          Collection Practices Act (the “FDCPA”) by falsely representing the legal
                                         25          status of the debt associated with the Loan Agreement, and by attempting to
                                         26          collect a debt that Defendants were not entitled to collect.
                                         27
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                                          1   42.    Defendant violated 15 U.S.C. § 1692e when they made false, deceptive, and
                                          2          misleading representations that Defendants were entitled to collect money
                                          3          from Plaintiff.
                                          4   43.    Defendants violated 15 U.S.C. § 1692e(2)(b) when they falsely represented
                                          5          that Defendants were entitled to collect money from Plaintiff.
                                          6   44.    Defendants violated 15 U.S.C. § 1692e(5) when they threatened to take
                                          7          action that cannot legally be taken.
                                          8   45.    Defendants violated 15 U.S.C. § 1692e(10) when they used false
                                          9          representations and deceptive means to collect or attempt to collect any debt
                                         10          or to obtain information concerning a consumer because Defendants were not
                                         11          lawfully allowed to collect debt from Plaintiff.
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                                         12   46.    Defendants violated 15 U.S.C. § 1692f when they used unfair or
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                                         13          unconscionable means to collect debt when Defendants were not entitled to
                                         14          collect money from Plaintiff.
                                         15   47.    Through this conduct, Defendants were collecting an amount (including any
                                         16          interest, fee, charge, or expense incidental to the principal obligation) when
                                         17          such amount was not expressly authorized by the agreement creating the debt
                                         18          or permitted by law.             Consequently, Defendants violated 15 U.S.C. §
                                         19          1692f(1).
                                         20   48.    As a result of Defendant’s actions, Plaintiff suffered from mental anguish,
                                         21          embarrassment, and emotional distress and was forced to hire an attorney to
                                         22          represent her in the Justice Court case, that Defendants should not have filed.
                                         23          Defendants thereby harmed Plaintiff, causing Plaintiff to suffer damages.
                                         24                                      FIRST CAUSE OF ACTION
                                         25                 VIOLATIONS OF FAIR DEBT COLLECTION PRACTICES ACT
                                         26                                      15 U.S.C. §§ 1692 ET SEQ.
                                         27   49.    Plaintiff repeats, re-alleges, and incorporates by reference all above
                                         28          paragraphs.

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                                          1   50.    Defendants’ conduct violated 15 U.S.C. § 1692e when they made false,
                                          2          deceptive, and misleading representations that Defendants were entitled to
                                          3          collect money from Plaintiff.
                                          4   51.    Defendants’ conduct violated 15 U.S.C. § 1692f when they used unfair and
                                          5          unconscionable means to collect debt when Defendants were not entitled to
                                          6          collect money from Plaintiff.
                                          7   52.    The foregoing acts and omissions of Defendants constitute numerous and
                                          8          multiple violations of the FDCPA, including every one of the above cited
                                          9          provisions.
                                         10   53.    Plaintiff is entitled to damages as a result of Defendants’ violations.
                                         11   54.    Plaintiff suffered fear, stress, and anxiety because of Defendants’ actions and
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                                         12          has been required to retain the undersigned as counsel to protect her legal
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                                         13          rights to prosecute this cause of action, and is therefore entitled to actual
                                         14          damages under 15 U.S.C. § 1692k(a)(1), statutory damages in an amount up
                                         15          to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A) and reasonable
                                         16          attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                                         17          Defendants.
                                         18                                     SECOND CAUSE OF ACTION
                                         19                                     VIOLATIONS OF NRS 604A
                                         20   55.    Plaintiff repeats, re-alleges, and incorporates by reference all above
                                         21          paragraphs.
                                         22   56.    Rapid Cash caused damages to Plaintiff by providing Plaintiff high-interest
                                         23          loans that exceeded 25 percent of her income.
                                         24   57.    NRS 604A.930 provides a private right of action for a violation of NRS
                                         25          604A.425.
                                         26   58.    The Loan Agreements fall under NRS 604A.425 because it is a high-interest
                                         27          loan.
                                         28

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                                          1   59.    The Loan Agreements are a violation of NRS 604A.425(1)(b) because the
                                          2          loan amounts exceeded 25 percent of Plaintiff’s monthly income.
                                          3   60.    Plaintiff has suffered actual and consequential damages due to Rapid Cash’s
                                          4          conduct.
                                          5   61.    As a result of Rapid Cash’s violation of NRS 604A, Plaintiff is entitled to
                                          6          recover actual damages, punitive damages and attorneys fees and costs
                                          7          pursuant to NRS 604A.930.
                                          8   62.    Further, as a result of Rapid Cash’s willful violation of NRS 604A, Plaintiff is
                                          9          entitled to declaratory relief that the loan is void pursuant to NRS 604A.900.
                                         10                                      PRAYER FOR RELIEF
                                         11           Plaintiff respectfully requests that this Court grant her the following relief
6069 South Fort Apache Road, Suite 100
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                                         12   against Defendants:
       Las Vegas, Nevada 89148




                                                        • An award of actual damages pursuant to 15 U.S.C. §
                                         13
                                                           1692k(a)(1);
                                         14             • An award of statutory damages of $1,000 pursuant to 15
                                                           U.S.C. § 1692k(a)(2)(A);
                                         15
                                                        • An award of costs of litigation and reasonable attorney’s
                                         16                fees, pursuant to 15 U.S.C. § 1692k(a)(3);
                                                        • Actual and consequential damages in an amount to be
                                         17
                                                           determined at trial under NRS 604A.930(1)(a);
                                         18             • Punitive damages pursuant to NRS 604A.930(1)(b) and
                                                           NRS 42.005;
                                         19
                                                        • Reasonable attorneys’ fees and costs pursuant to NRS 604A.
                                         20                930(1)(c);
                                                        • Declaratory judgment that the Loan Agreements are void,
                                         21
                                                           pursuant to NRS 604A.900; and
                                         22             • Any other relief the Court may deem just and proper.
                                         23   ///
                                         24   ///
                                         25   ///
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                                         28   ///

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                                               COMPLAINT                                     !8
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                                          1                                           TRIAL BY JURY
                                          2   63.    Pursuant to the Seventh Amendment to the Constitution of the United States
                                          3          of America, Plaintiff is entitled to, and demands, a trial by jury.
                                          4
                                          5           DATED this 19th day of July 2017.
                                          6                                                       Respectfully submitted,
                                          7
                                                                                                  KAZEROUNI LAW GROUP, APC
                                          8
                                          9                                                       By: /s/ Michael Kind
                                                                                                  Michael Kind, Esq.
                                         10
                                                                                                  6069 South Fort Apache Road, Suite 100
                                         11                                                       Las Vegas, Nevada 89148
6069 South Fort Apache Road, Suite 100




                                                                                                  Attorneys for Plaintiff Tonisha Anderson
  KAZEROUNI LAW GROUP, APC




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       Las Vegas, Nevada 89148




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